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            In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                    Filed: May 7, 2021

* * * * * * * * * * * * * *                  *
CLAYTON T. COLEMAN,                          *       UNPUBLISHED
                                             *
               Petitioner,                   *       No. 18-352V
                                             *
v.                                           *       Special Master Dorsey
                                             *
SECRETARY OF HEALTH                          *       Damages Award; Proffer; Influenza (“Flu”)
AND HUMAN SERVICES,                          *       Vaccine; Sweet’s Syndrome.
                                             *
               Respondent.                   *
                                             *
* * * * * * * * * * * * * *                  *

David A. Tierney, Rawls Law Group, Richmond, VA, for petitioner.
Sarah C. Duncan, U.S. Department of Justice, Washington, DC, for respondent.

                             DECISION AWARDING DAMAGES1

        On March 7, 2018, Clayton T. Coleman (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program (“Vaccine Act” or “the Program”), 42
U.S.C. § 300aa-10 et seq. (2012).2 Petitioner alleged that he suffered from Sweet’s syndrome
and development of arthralgia as the result of an influenza (“flu”) vaccination he received on
February 3, 2016. Petition at Preamble (ECF No. 1). On February 16, 2021, the undersigned
issued a ruling finding petitioner entitled to compensation. Ruling on Entitlement dated Feb. 16,
2021 (ECF No. 54).


1
 Because this Decision contains a reasoned explanation for the action in this case, the
undersigned is required to post it on the United States Court of Federal Claims’ website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). This means the Decision will
be available to anyone with access to the Internet. In accordance with Vaccine Rule 18(b),
petitioner has 14 days to identify and move to redact medical or other information, the disclosure
of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such
material from public access.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-10 to -34 (2012). All citations in this Decision to individual sections of the
Vaccine Act are to 42 U.S.C. § 300aa.


                                                 1
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        On May 7, 2021, respondent filed a Proffer on Award of Compensation, attached hereto
as Appendix A. Respondent’s Proffer on Award of Compensation (“Proffer”) dated May 7, 2021
(ECF No. 61). In the Proffer, respondent represented that petitioner agrees with the proffered
award. Proffer at 1. Based on the record as a whole, the undersigned finds that petitioner is
entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards:

       A lump sum payment of $115,674.41 in the form of a check made payable to
petitioner, Clayton T. Coleman, an award comprised of $115,000.00, for pain and suffering,
and $674.41 for past unreimbursable expenses.

Proffer at 2. This amount represents compensation for all damages that would be available under
42 U.S.C. § 300aa-15(a). Id.

      The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the Proffer.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT herewith.3

       IT IS SO ORDERED.


                                             s/Nora Beth Dorsey
                                               Nora Beth Dorsey
                                               Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                2
